                            EXHIBIT J




Declaration of Omar Gonzalez-Pagan in support of
Motion to Exclude Expert Testimony of Dr. Paul W. Hruz
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA (M.D.N.C.)

   Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 1 of 16
                                                                      Page 1

 1                            UNITED STATES DISTRICT COURT
                                             FOR THE
 2                             MIDDLE DISTRICT OF FLORIDA
 3
        DREW ADAMS, a minor,           )
 4                                     )
                      Plaintiff,       )
 5                                     )
               vs.                     )Civil Action
 6                                     )No.3:17-cv-00739-TJC-JBT
        THE SCHOOL BOARD OF ST. )
 7      JOHNS COUNTY, FLORIDA,         )
                                       )
 8                    Defendant.       )
 9
10
11
12                         TELEPHONIC DEPOSITION OF KIM G. HUTTON
13                             Taken on behalf of Defendant
14                                     December 5, 2017
15                  (Starting time of the deposition:         3:00 p.m.)
16
17
18
19
20
21
22
23
24
25

                                   Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 2 of 16
                                                                      Page 2

 1                      I N D E X     O F     E X A M I N A T I O N
 2
 3                                                                     Page
 4      Questions by Mr. Harmon ..........................                5
 5      Questions by Mr. Gonzalez-Pagan ..................               49
 6
 7                  (No exhibits were marked.)
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                                  Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 3 of 16
                                                                      Page 3

 1                            UNITED STATES DISTRICT COURT
                                             FOR THE
 2                             MIDDLE DISTRICT OF FLORIDA
 3
        DREW ADAMS, a minor,           )
 4                                     )
                     Plaintiff,        )
 5                                     )
               vs.                     )Civil Action
 6                                     )No.3:17-cv-00739-TJC-JBT
        THE SCHOOL BOARD OF ST. )
 7      JOHNS COUNTY, FLORIDA,         )
                                       )
 8                   Defendants.       )
 9
10                   TELEPHONIC DEPOSITION OF WITNESS, KIM G.
11      HUTTON, produced, sworn, and examined on the 5th day
12      of December, 2017, between the hours of nine o'clock
13      in the forenoon and six o'clock in the evening of that
14      day, at the offices of Veritext Legal Solutions, 515
15      Olive Street, Suite 300, St. Louis, Missouri before
16      BRENDA ORSBORN, a Certified Court Reporter within and
17      for the State of Missouri, in a certain cause now
18      pending in the United States District Court for the
19      Middle District of Florida, wherein Drew Adams, a
20      minor, is the Plaintiff and The School Board of St.
21      Johns County, Florida is the Defendant.
22
23
24
25

                                   Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 4 of 16
                                                                      Page 4

 1                             A P P E A R A N C E S
 2                  For the Plaintiff:
 3                  Mr. Omar Gonzalez-Pagan
                    Lambda Legal
 4                  120 Wall Street
                    New York, New York 10005
 5                  (212) 809-8585
                    ogonzalez-pagan@lambdalegal.org
 6
 7
 8                  For the Defendant:
 9                  Mr. Terry Harmon (via phone)
                    Sniffen & Spellman, P.A.
10                  123 North Monroe Street
                    Tallahassee, Florida 32301
11                  (850) 205-1996
                    tharmon@sniffenlaw.com
12
13
14                  The Court Reporter:
15                  Ms. Brenda Orsborn, RPR/CSR/CCR
                    Missouri CCR No. 914
16                  Illinois CSR No. 084-003460
                    Veritext Legal Solutions
17                  515 Olive Street, Suite 300
                    St. Louis, Missouri 63101
18                  (888) 391-3376
19
20
21
22
23
24
25

                                  Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 5 of 16
                                                                     Page 21

 1      center in St. Louis.
 2                  And that's how that happened.            Dr. Hruz
 3      e-mailed me -- it's either the same day or the next
 4      day, and invited me to lunch.
 5             Q.   Where did you go -- did you end up going to
 6      lunch?
 7             A.   We did.
 8             Q.   Where did you go?
 9             A.   At the Wild Flower in the Central West End.
10             Q.   And what -- you said it was in 2013?
11             A.   Yes.
12             Q.   Do you recall what month?
13             A.   October.
14             Q.   Okay.    Was anybody else at the lunch?
15             A.   No.
16             Q.   Do you recall approximately how long the
17      lunch was?
18             A.   Maybe 45 minutes.
19             Q.   Was your conversation recorded?
20             A.   No.
21             Q.   I guess, to your knowledge, you may not
22      know, right?
23             A.   To my knowledge.        I did not record it.
24             Q.   Okay.    What -- what did you -- when you were
25      going to have that lunch with Dr. Hruz, what was the

                                  Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 6 of 16
                                                                     Page 22

 1      purpose of it, in your mind?
 2             A.   Well, the e-mail that he sent me stated that
 3      he wanted to meet to -- I think he kind of positioned
 4      it as wanting to learn more about this experience, and
 5      he shared that he -- he was well aware that Dr. Abby
 6      Hollander was working with me, or that I had
 7      approached her about starting a pediatric gender
 8      center inside the hospital, and that he was having
 9      great difficulty being open to that concept based on
10      his morals.
11                  He said that he did not -- part of the note
12      I remember said something about he did not agree with
13      the -- the recommended standards of care, or something
14      like that, for our children, that he didn't believe
15      that it was appropriate medically or spirit -- or that
16      it -- or that it wouldn't meet their spiritual needs,
17      or something like that.
18                  And so I realized -- I realized -- I felt
19      like it was going to be not a great meeting, but I was
20      still willing to meet with him because I felt that
21      maybe, you know, the parent perspective could be
22      helpful to him.
23             Q.   Now, was that document, was that in an
24      e-mail that he conveyed that information to you?
25             A.   Yes.

                                  Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 7 of 16
                                                                     Page 23

 1             Q.   Do you still have that e-mail?
 2             A.   I do.
 3             Q.   Okay.    Have you shown that e-mail to counsel
 4      in the room?
 5             A.   I did.
 6             Q.   Do you have it with you now?
 7             A.   I don't.
 8             Q.   Okay.    To the best of your knowledge, can
 9      you tell me everything, aside from what you've already
10      told me, that that e-mail says in it?
11             A.   Those -- those were the sticking points for
12      me, because I found it very odd that he would be
13      talking about faith or morals or spiritual needs in
14      the context of this conversation.              It was not -- I
15      talk to many medical professionals in my work with
16      TransParent, and it's the first time that somebody was
17      so overtly upfront that it was problematic due to
18      their faith on some -- at least on some level.              So I
19      can't remember it.       It wasn't -- it was longer --
20      the -- the note was longer than that, but those were
21      the points that have stuck out with me.
22             Q.   Okay.    Other than that e-mail, do you have
23      any other document that reflects communication you
24      have had with Dr. Hruz?
25             A.   There's -- I mean, after he e-mailed me, I

                                  Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 8 of 16
                                                                     Page 24

 1      e-mailed him and told him that I, you know, was very
 2      excited to meet with him, although I was -- you know,
 3      I think I expressed some disappointment because
 4      Dr. Spack had shared that he was, you know, I guess
 5      against a pediatric gender center at St. Louis
 6      Children's Hospital and -- but that, you know, I
 7      was -- I would be very happy to have the conversation
 8      or something like that.        And then he e-mailed me back
 9      and said, "Thank you for responding so quickly," and
10      he would have his secretary reach out to me to set a
11      date and time.
12             Q.   Okay.    So this meeting that you were going
13      to have with him that ended up being a lunch, was any
14      part of that meeting in the context of receiving
15      medical care, opinions or services?
16             A.   No.
17             Q.   Okay.    Were you going to learn anything from
18      Dr. Hruz you would personally use with you or your
19      family members when it comes to treatment for any type
20      of disorders?
21             A.   No.
22             Q.   Was it just to learn about Dr. Hruz's
23      position on the pediatric gender center at the
24      Washington University?
25             A.   Well, he called the meeting, so I -- I --

                                  Veritext Legal Solutions
     800-726-7007                                                       305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 9 of 16
                                                                     Page 25

 1      again, I really wanted to go, because I understood
 2      that he had a lot of influence on whether or not the
 3      center moved forward.        And I had been talking with
 4      other doctors and people on their DSD team at
 5      St. Louis Children's Hospital about moving this
 6      forward, but it really had stalled.
 7                   And so I -- I just felt like being the head
 8      of Endocrine, that he would have a lot of influence
 9      over that decision.       And so for me, that is why I
10      wanted to go and meet with him, to see if I could say
11      anything that would might make -- that might make him
12      more interested in doing something like that.
13             Q.    So would you characterize this as a business
14      meeting?
15             A.    Not really.     I'm -- not really.       I guess --
16      I guess --
17             Q.    Were you hoping to come away from that
18      meeting with some type of support from Dr. Hruz for
19      the establishment of the pediatric gender center?
20             A.    I guess I just felt like all of the
21      treatment for our kids was going through a person that
22      reported to Dr. Hruz.        And so I guess I felt like he
23      may not have enough information to support it or not
24      support it.     He wasn't seeing any of our kids.
25      There -- there were only a handful of our kids at the

                                   Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 10 of 16
                                                                     Page 26

 1      time.
 2                   You know, this is four years ago before
 3      everything really opened up in St. Louis as far as
 4      treatment and care for kids.            But I just understood
 5      that he -- and especially since he had already said in
 6      his e-mail that he didn't support the center, I guess
 7      I was hopeful that the parent perspective might be
 8      helpful.
 9             Q.    Okay.   Now, did I understand you to say that
10      you were aware that Dr. Hruz was providing treatment
11      to your -- when you say "our kids," are you referring
12      to TransParent --
13             A.    Yes.
14             Q.    -- members' kids?
15             A.    Yes.
16             Q.    Okay.   So to your knowledge, as of 2013, to
17      your knowledge, was Dr. Hruz treating transgender
18      children?
19             A.    He was not, that I -- to my knowledge.
20             Q.    Okay.   So in terms of that -- that lunch
21      meeting, can you tell me everything you can remember
22      from the meeting?
23             A.    Yes.
24                   MR. GONZALEZ-PAGAN:          Form.
25             Q.    (By Mr. Harmon) Well, let me ask it a

                                   Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 11 of 16
                                                                        Page 27

 1      different way.       Can you tell me, to the best of your
 2      recollection, everything Dr. Hruz said to you during
 3      the lunch meeting?
 4                   MR. GONZALEZ-PAGAN:          Form.       You can answer.
 5                   THE WITNESS:      Oh.
 6             Q.    (By Mr. Harmon) Yeah, you can answer.
 7             A.    Yeah.    So after, you know, introducing
 8      ourselves I started off with trying to tell him a
 9      little bit about my family and our experience, but
10      I -- I really didn't get very far.                He interrupted me
11      fairly quickly, probably within a minute or so, two
12      minutes tops, and said that he had reviewed my
13      brochure from TransParent and that he knew that my aim
14      was to normalize the transgender experience, but that
15      it would never be a normal experience.                  It was not a
16      normal experience, and it would never be normal.
17                   We went on to talk more about, you know,
18      his -- he -- he actually started talking about Pope
19      John Paul II's writings on gender and -- and how they
20      explain God's plan for gender, and that I should
21      consider reading them.         And he said, you know, this
22      idea that -- the idea of doing surgeries on
23      transgender people is -- is wrong, that, you know, we
24      should not be, you know, changing bodies.
25                   And I said -- I -- I argued with him on that

                                   Veritext Legal Solutions
     800-726-7007                                                          305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 12 of 16
                                                                     Page 28

 1      point that, you know, there are men that have man
 2      boobs, and I said they have theirs surgically removed
 3      or altered.     And I said wouldn't that be the same
 4      thing, and -- and why is that okay, but not removing
 5      the breast for a transgender boy, and he said,
 6      "Because male breasts aren't used for anything, but
 7      female breasts lactate and provide nourishment to
 8      babies.     So, therefore, it would be -- it would go
 9      against, you know, God's plan to remove breasts from
10      women."     Something -- something very close that.
11                   He said several times during this
12      conversation, as I tried to tell him, you know, how
13      hard it was for my child living a transgender life,
14      you know, but that -- but what a great -- what a great
15      son I've had since I allowed him to transition, how
16      happy he was.      And he said that, you know, what a -- I
17      kept saying, "What a normal life -- like if you met my
18      son, you would never know.           He's a very normal little
19      boy."
20                   And he kept saying, he kept insisting that
21      my child was not normal and would never be normal.
22      And he said that to me at least three or four times
23      during our conversation.
24                   He said -- and -- and at the same time he
25      just kept saying, "If only you would read Pope John

                                   Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 13 of 16
                                                                     Page 29

 1      Paul II's writings.       If only you would read them, you
 2      would understand everything."             And I said, "Well, you
 3      know, the Bible tells a story about, you know, man
 4      was -- woman was created from the rib of man," and I
 5      said, "You know, maybe this all started with Adam and
 6      Eve because God took a rib from a woman -- or from a
 7      man and put it into women, and maybe he crossed that
 8      DNA, you know, at the very beginning, and maybe that's
 9      why we have transgender people."
10                   He said -- he got very irritated with me,
11      and he said, "Not all the stories in the Bible are
12      true."
13                   And I said, "Well, then how do you decide
14      which ones you're going to believe and which ones
15      you're not?     How do you determine that, like, which
16      ones you follow and which ones you don't follow?"
17                   And he -- he reverted right back to -- he
18      goes, "You just need to read Pope John Paul II's
19      writings on gender.       It will -- it will explain it all
20      to you."
21                   And I said, "Do you realize that kids like
22      mine are at a 41 percent risk of suicide if they don't
23      have acceptance and -- and care from their parents
24      and -- and if they don't get their medical needs met?"
25                   And he said, "Some children are born in this

                                   Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 14 of 16
                                                                     Page 30

 1      world to suffer and die."            And he said, "Do you think
 2      I don't ask myself all the time why some people get
 3      cancer?"      He goes, "I -- I ask myself that all the
 4      time."
 5                    And I said, "Well, people with cancer, at
 6      least we try to help them.            At least we give them
 7      care."      And I think the conversation ended shortly
 8      after that, and he stood up, and he said, "I -- I have
 9      to tell you there will never be a pediatric gender
10      center at St. Louis Children's Hospital.               I won't
11      allow it."      And I --
12             Q.     Did he say why?
13             A.     Pardon me?
14             Q.     Did he say why he would not allow it?
15             A.     Well, based on every -- no, he did not say
16      why.    That's how he ended the conversation, but my
17      interpretation would have been based on everything
18      we -- he had just shared with me that he was in
19      disagreement from -- based on his faith.
20             Q.     Did he ever say that he would not allow a
21      gender center because of his faith?
22             A.     He did not.
23             Q.     Okay.   That was your interpretation of --
24             A.     Yes.
25             Q.     -- what the conversation was?

                                    Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 15 of 16
                                                                     Page 37

 1             A.    I am.
 2             Q.    How are you aware of what his position is
 3      now?
 4             A.    I saw a -- some papers that he's publishing,
 5      and I understand that he is involved in other cases
 6      involving students, so Internet searches.
 7             Q.    Did your conversation with Dr. Hruz anger
 8      you?
 9             A.    My conversation?
10             Q.    Yes.
11             A.    It -- it perplexed me.            I found --
12             Q.    Why did it perplex you?
13             A.    Again, because it was so religious-based.
14      I -- I was very taken off guard by the religious tone
15      of the conversation, because I -- I figured it would
16      at least be based on science.             He would have some
17      science behind his feelings over children like mine,
18      but that is not what I heard in our conversation at
19      all.
20             Q.    So your conversation with Dr. Hruz, is it
21      fair to say that it was based on religion and moral
22      viewpoints as opposed to science?
23             A.    Yes.
24                   MR. GONZALEZ-PAGAN:          Form.
25             Q.    (By Mr. Harmon) What was the answer?

                                   Veritext Legal Solutions
     800-726-7007                                                        305-376-8800

     Case 1:19-cv-00272-LCB-LPA Document 205-11 Filed 02/02/22 Page 16 of 16
